Case 2:03-cr-20364-SH|\/| Document 144 Filed 05/27/05 Page 1 of 2 Page|D 179

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF' TENNESSEE
W'ESTERN DIVISION

 

 

U'NITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03-20364-02-Ma

VS.

TIWANN DGWAYNE JEFFERSON,

~_/~_,-_-_/~_/~_._»-..»~_/-__¢

Defendant.

 

ORDER ON CHA.NGE OF PLEA

 

This cause came on to be heard on May 23, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Tiwann DeWayne Jefferson, appearing in person and
with appointed counsel, Mr. J. Patten Brcwn, III.

With leave of the Ccurt, the defendant entered a plea Of
guilty to Ccunt l cf the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Wednesday, August 24,
2005 at 9:00 a.m.

The defendant may remain On his present bond pending
sentencing.

ENTERED this the QJ'°“` day cf May, 2005.

SAMUEL H. MAYS, JR.
U`NITED STATES DISTRIC'I‘ JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

